Case No. 1:23-cv-01077-PAB-NRN Document 46 filed 08/14/23 USDC Colorado pg 1 of 2
 Appellate Case: 23-1251       Document: 010110902491            Date Filed: 08/14/2023    Page: 1
                      UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                 Byron White United States Courthouse
                                           1823 Stout Street
                                       Denver, Colorado 80257
                                            (303) 844-3157
                                       Clerk@ca10.uscourts.gov
  Christopher M. Wolpert                                                             Jane K. Castro
  Clerk of Court                                                                 Chief Deputy Clerk
                                         August 14, 2023


   Michael Kotlarczyk
   Grant Sullivan
   Matthew John Worthington
   Colorado Department of Law
   Ralph L. Carr Judicial Building
   1300 Broadway
   Denver, CO 80203
   RE:       23-1251, Rocky Mountain Gun Owners, et al v. Polis
             Dist/Ag docket: 1:23-CV-01077-PAB-NRN

  Dear Counsel:

  Your appeal has been docketed, and the appeal number is above.

  Within 14 days from the date of this letter, Appellant’s counsel must electronically file:

      •   An entry of appearance and certificate of interested parties per 10th Cir. R.
          46.1(A) and (D).
      •   A docketing statement per 10th Cir. R. 3.4.
      •   A transcript order form or notice that no transcript is necessary per 10th Cir.
          R. 10.2. This form must be filed in both the district court and this court.
      •   Also within 14 days, Appellant must pay the $505.00 filing and docketing fees
          ($5.00 filing fee and $500.00 docket fee) in the district court. Fed. R. App. P. 3(e)
          and 10th Cir. R. 3.3(B).

  In addition, all counselled entities that are required to file a Federal Rule of Appellate
  Procedure 26.1 disclosure statement must do so within 14 days of the date of this letter.
  All parties must refer to Federal Rule of Appellate Procedure 26.1 and Tenth Circuit Rule
  26.1 for applicable disclosure requirements. All parties required to file a disclosure
  statement must do so even if there is nothing to disclose. Rule 26.1 disclosure statements
  must be promptly updated as necessary to keep them current.

  Also within 14 days, Appellee’s counsel must electronically file an entry of appearance
  and certificate of interested parties. Attorneys that do not enter an appearance within
  the specified time frame will be removed from the service list.
Case No. 1:23-cv-01077-PAB-NRN Document 46 filed 08/14/23 USDC Colorado pg 2 of 2
 Appellate Case: 23-1251     Document: 010110902491        Date Filed: 08/14/2023     Page: 2
  The Federal Rules of Appellate Procedure, the Tenth Circuit Rules, and forms for the
  aforementioned filings are on the court’s website. The Clerk’s Office has also created a
  set of quick reference guides and checklists that highlight procedural requirements for
  appeals filed in this court.

  Please contact this office if you have questions.

                                              Sincerely,



                                              Christopher M. Wolpert
                                              Clerk of Court



   cc:      Barry K. Arrington




   CMW/jjh




                                               2
